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  8
                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      STEPHANIE CLIFFORD a.k.a.               Case No. 18-cv-02217
 12 STORMY DANIELS a.k.a. PEGGY
 13 PETERSON, an individual,                  NOTICE OF ERRATA
                                              REGARDING REMOVAL OF
 14                Plaintiff,                 ACTION UNDER 28 U.S.C. § 1441(b)
 15                                           DIVERSITY BY DEFENDANT
            v.                                ESSENTIAL CONSULTANTS, LLC
 16                                           [DOCKET NO. 1], AND ESSENTIAL
                                              CONSULTANTS, LLC'S
 17 DONALD J. TRUMP a.k.a. DAVID              CORPORATE DISCLOSURE
      DENNISON, an individual,                STATEMENT [DOCKET NO. 4]
 18 ESSENTIAL CONSULTANTS, LLC, a
 19 Delaware Limited Liability Company,
      and DOES 1 through 10, inclusive,
 20
 21                 Defendants.
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             NOTICE OF ERRATA BY DEFENDANT ESSENTIAL CONSULTANTS, LLC
Case 2:18-cv-02217-SJO-FFM Document 7 Filed 03/18/18 Page 2 of 2 Page ID #:64



  1
            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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            PLEASE TAKE NOTICE that Defendant Essential Consultants, LLC
  3
      respectfully submits this Notice of Errata concerning the Notice of Removal of Action
  4
      Under 29 U.S.C. § 1441(b) Diversity by Defendant Essential Consultants, LLC,
  5
      [Docket No. 1], wherein the Signature Block on page 8 of 8 shall state “Essential
  6
      Consultants, LLC” in lieu of “Executive Consultants, LLC”.
  7
            Furthermore, Defendant Essential Consultants, LLC respectfully submits this
  8
      Notice of Errata concerning the Essential Consultants, LLC's Corporate Disclosure
  9
      Statement [Docket No. 4] wherein the Signature Block on page 2 of 2 shall state
 10
      “Essential Consultants, LLC” in lieu of “Executive Consultants, LLC”.
 11
 12
 13 Dated: March 18, 2018                 BLAKELY LAW GROUP
 14
 15                                       By: /s/ Brent H. Blakely
                                              BRENT H. BLAKELY
 16                                          Attorneys for Defendant
 17                                          ESSENTIAL CONSULTANTS, LLC

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             NOTICE OF ERRATA BY DEFENDANT ESSENTIAL CONSULTANTS, LLC
